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                 UNITED STATES COURT OF APPEALS
                                                                  FILED
                         FOR THE NINTH CIRCUIT
                                                                  APR 27 2023
                                                                 MOLLY C. DWYER, CLERK
                                                                 U.S. COURT OF APPEALS




YUROK TRIBE; et al.,                        No. 23-15521

             Plaintiffs - Appellees,
                                            D.C. No. 3:19-cv-04405-WHO
 v.                                         U.S. District Court for Northern
                                            California, San Francisco
U.S. BUREAU OF RECLAMATION;
KLAMATH WATER USERS                         ORDER
ASSOCIATION,

             Defendants-counter-
claimants-cross-claimants - Appellees,

NATIONAL MARINE FISHERIES
SERVICE,

             Defendant - Appellee,

KLAMATH TRIBES,

             Intervenor-Defendant -
Appellee,

 v.

KLAMATH IRRIGATION DISTRICT,

             Intervenor-Defendant -
Appellant,

 v.

OREGON WATER RESOURCES
DEPARTMENT,
        Case: 23-15521, 04/27/2023, ID: 12704384, DktEntry: 7, Page 2 of 2




               Cross-claim-defendant -
Appellee.


      This case is RELEASED from the Mediation Program.

                                                 FOR THE COURT:

                                                 Sasha M. Cummings
cl/mediation                                     Circuit Mediator
